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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

LUTERIA CUELLAR, and REGINA      §             No. SA:17–CV–1088–DAE
TERRAZAS,                        §
                                 §
     Plaintiffs,                 §
                                 §
vs.                              §
                                 §
A PLUS FAMILY CARE, LLC,         §
                                 §
     Defendant.                  §
________________________________ §

 ORDER FOR SCHEDULING RECOMMENDATIONS AND ADVISORY
      CONCERNING MAGISTRATE JUDGE ASSIGNMENT

             At the request of the Bar, the San Antonio District Judges have

implemented a procedure whereby a Magistrate Judge is assigned to each civil case

at the time it is filed. The assignments are made randomly and are evenly divided

among the three San Antonio Magistrate Judges. If a pretrial matter is referred by

the District Judge, it will be handled by the Magistrate Judge to whom the case was

assigned. Similarly, if the parties consent to Magistrate Judge jurisdiction, the case

will be placed on the docket of the assigned Magistrate Judge for all future

proceedings, including entry of judgment. The United States Magistrate Judge

assigned to this case is the Honorable HENRY J. BEMPORAD.
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             In an effort to assist the parties in resolving this dispute as

expeditiously and efficiently as possible, and in accordance with Rule CV-16(c) of

the Local Court Rules of the Western District of Texas,

             IT IS HEREBY ORDERED that the parties shall submit a proposed

scheduling order to the Court within thirty (30) days from the date of this order.

The parties shall first confer as required by Fed R. Civ. P. 26(f). The content of the

proposed scheduling order shall include proposals for all deadlines set out in the

form for scheduling order attached hereto and contained in Appendix "B" to the

Local Rules. The parties shall endeavor to agree concerning the contents of the

proposed order, but in the event they are unable to do so, each party’s position and

the reasons for the disagreement shall be included in the proposed schedule

submitted to the court. In the event the plaintiff has not yet obtained service on all

defendants, the plaintiff shall include an explanation of why all parties have not

been served. The scheduling proposals of the parties shall be considered by the

trial court, but the setting of all dates is within the discretion of the Court. The

parties shall indicate in the proposed order that they have in fact conferred as

required by the federal rules of procedure.

             The proposed scheduling order shall contain suggestions for the

following deadlines:
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   1. A report on alternative dispute resolution in compliance with Local

Rule CV-88 (the standard period being 90 days after the first defendant's

appearance).

   2. The parties asserting claims for relief shall submit a written offer of

settlement to opposing parties (the standard period being 90 days after the first

defendant's appearance), and each opposing party shall respond, in writing (the

standard period being 104 days after the first defendant's appearance).

   3. The parties shall file all motions to amend or supplement pleadings or to join

additional parties by (the standard period being 120 days after the first defendant's

appearance).

   4. All parties asserting claims for relief shall file their designation of potential

witnesses, testifying experts, and proposed exhibits, and shall SERVE ON ALL

PARTIES, BUT NOT FILE the materials required by Fed. R. Civ. P.

26(a)(2)(B) by (the standard period being 90 days before the discovery deadline).

Parties resisting claims for relief shall file their designation of potential witnesses,

testifying experts, and proposed exhibits, and shall SERVE ON ALL PARTIES,

BUT NOT FILE the materials required by Fed. R. Civ. P. 26(a)(2)(B) by (the

standard period being 45 days before the close of discovery). All designations of

rebuttal experts shall be filed within 14 days of receipt of the report of the

opposing expert.
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      5. An objection to the reliability of an expert's proposed testimony under

Federal Rule of Evidence 702 shall be made by motion, specifically stating the

basis for the objection and identifying the objectionable testimony, within (the

standard period being 30 days) days of receipt of the written report of the expert's

proposed testimony, or within (the standard period being 30 days) days of the

expert's deposition, if a deposition is taken, whichever is later.

      6. The parties shall complete discovery (the standard period being six

months after the first defendant's appearance). Counsel may by agreement continue

discovery beyond the deadline, but there will be no intervention by the Court

except in extraordinary circumstances, and no trial setting will be vacated because

of information obtained in post-deadline discovery.

      7. All dispositive motions shall be filed (the standard period being 30 days

after the discovery deadline). Dispositive motions as defined in Local Rule CV-

7(c) and responses to dispositive motions shall be limited to (the standard page

limit for this Court is 20) pages in length. The court will set a hearing on such

motions for a date after the deadline for responses and replies.

      8. This case will not be set for trial until after dispositive motions, if any,

have been ruled on. If parties elect not to file dispositive motions, they must

contact the courtroom deputy, Priscilla Springs at (210) 472-6550 ext. 5016, or

by email Priscilla_Springs@txwd.uscourts.gov, in order to set a trial date. The
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Court will set the case for trial by separate order. The order will establish trial type

deadlines to include pretrial matters pursuant to Local Rule CV-16(e)-(g).

             IT IS SO ORDERED.

             DATED: San Antonio, Texas, November 21, 2017.




                                           _____________________________________
                                           David Alan Ezra
                                           Senior United States Distict Judge
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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LUTERIA CUELLAR, and REGINA      §              No. SA:17–CV–1088–DAE
TERRAZAS,                        §
                                 §
     Plaintiffs,                 §
                                 §
vs.                              §
                                 §
A PLUS FAMILY CARE, LLC,         §
                                 §
     Defendant.                  §
________________________________ §


                    SCHEDULING RECOMMENDATIONS

             The parties recommend that the following deadlines be entered in the

scheduling order to control the course of this case:

      1. A report on alternative dispute resolution in compliance with Local Rule

CV-88 shall be filed by ________________.

      2. The parties asserting claims for relief shall submit a written offer of

settlement to opposing parties by ________________, and each opposing party

shall respond, in writing, by .

      3. The parties shall file all motions to amend or supplement pleadings or to

join additional parties by ________________.

      4. All parties asserting claims for relief shall file their designation of

potential witnesses, testifying experts, and proposed exhibits, and shall serve on
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all parties, but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by

______________. Parties resisting claims for relief shall file their designation of

potential witnesses, testifying experts, and proposed exhibits, and shall serve on all

parties, but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by

______________. All designations of rebuttal experts shall be designated within

14 days of receipt of the report of the opposing expert.

      5. An objection to the reliability of an expert's proposed testimony under

Federal Rule of Evidence 702 shall be made by motion, specifically stating the

basis for the objection and identifying the objectionable testimony, within

_____________ days of receipt of the written report of the expert's proposed

testimony, or within __________ days of the expert's deposition, if a deposition is

taken, whichever is later.

      6. The parties shall complete all discovery on or before

________________. Counsel may by agreement continue discovery beyond the

deadline, but there will be no intervention by the Court except in extraordinary

circumstances, and no trial setting will be vacated because of information obtained

in post-deadline discovery.

      7. All dispositive motions shall be filed no later than ________________.

Dispositive motions as defined in Local Rule CV-7(c) and responses to dispositive

motions shall be limited to twenty (20) pages in length. Replies, if any, shall be
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limited to ten (10) pages in length in accordance with Local Rule CV-7(e). If the

parties elect not to file dispositive motions, they must contact the courtroom

deputy on or before this deadline in order to set a trial date.

      8. The hearing on dispositive motions will be set by the Court after all

responses and replies have been filed.

      9. The Court will set the case for trial by separate order. The order will

establish trial type deadlines to include pretrial matters pursuant to Local Rule

CV-16(e)-(g).

      10. All of the parties who have appeared in the action conferred concerning

the contents of the proposed scheduling order on ________________, and the

parties have (agreed/disagreed) as to its contents. The following positions and

reasons are given by the parties for the disagreement as to the contents of the

proposed scheduling order . Plaintiff offers the following

explanation of why all parties have not been served .

                                                     ______________________

                                                     (Signature)



                                                     _______________________

                                                     (Print or type name)

                                                     ATTORNEY FOR
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                                      ________________________

                                      (Print or type name)



               CERTIFICATE OF SERVICE
